I write in concurrence because I believe that the majority has not adequately discussed appellant's "public policy tort" arguments. Appellant maintains that he was not hired by appellees because of his father's union activities. Pursuant to R.C. 4117.11(A)(3), a public employer commits an unfair labor practice when, in hiring, it discriminates against an individual on the basis of his or her exercise of collective bargaining rights created under R.C. chapter 4117. Therefore, appellant argues that such discrimination is against public policy in Ohio. Since the termination of an employee for reasons which are against public policy removes the employee from Ohio's employee-at-will doctrine, appellant suggests that a cause of action exists for wrongfully denying someone employment in violation of public policy.
Construing the evidence most strongly in appellant's favor, it can be said that he has raised a question of fact as to whether he was denied employment because of his father's union activities. In my view, a person who is discriminated against for someone else's union activities is, in essence, discriminated against for union activities.
Appellant's argument breaks down, however, when he asserts his tort remedy. Notwithstanding any immunity arguments, claims that arise from or depend upon rights created by R.C. chapter 4117 are exclusively in the province of the State Employment Relations Board. Franklin Co, Law Enforcement Assn. v.F.O.P. (1991), 59 Ohio St.3d 167, paragraph two of the syllabus. Moreover, even were we to accept appellant's assertion that R.C. Chapter 4117 represents some broader public policy, to apply this to a hiring situation goes far beyond the exception to Ohio's employee-at-will doctrine which has been established for terminations. See Greeley v. Miami Valley Maintenance Contractors,Inc. (1990), 49 Ohio St.3d 228.